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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                               DEL RIO DIVISION


STATE OF TEXAS
    Plaintiff,
 V.


ALEJANDRO MAYORXAS, in his                      CIVIL ACTION NO. 2:23-CV-00024-AM
official capacity as Secretary of
Department of Homeland Security;
UNITED STATES DEPARTMENT
OF HOMELAND SECURITY;
MERRICK GARLAND, in his official
capacity as Attorney General of the
United States; UNITED STATES
DEPARTMENT OF JUSTICE
   Defendants.



ORDER GRANTING PLAINTIFF'S MOTION FOR EXTENSION OF TIME


       Pending before this Court is Plaintiff's Motion for Extension of Time to respond to

Defendants' Motion to Dismiss Complaint [ECF No. 20].

       After due consideration of the law, and all briefing submitted, the Court finds that the

motion is meritorious. It is therefore ORDERED that the Plaintiff's Motion for Extension ofTime

is GRANTED. Plaintiff's Responsive Pleading deadline shall be November 13, 2023.




       SIGNED on this the     1          day of__________




                                                    C   EF UNITED STAT       ISTRICT JUDGE
